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                              IN THE UNITED STATES DISTRICT COUlt1C:    24 2C..:: At.::::. /S
                                                                  -, ,-- · ;--·T•,-· ,--~ '- i.ci.,i
                                FOR THE DISTRICT OF CONNECTICUT !=°L_:~'-' !_:,v•--. -:,,_:,,_

            R. ALEXANDER ACOSTA, SECRETARY OF LABOR )
            UNITED STATES DOL OF LABOR,             )                       Civil No:
                                                                      )     3: 18-CV-1030-SALM
                                         Ph1i111itf,                  )
                         v.                                           )
                                                                      )
            NATIONAL ASSOCIATION OF LEITER                            )
            CARRIERS, AFL-CIO, BRANCH 19                              )
                                 Defcndanl                            )
                                                                       )


                                                       ETfLEMENT A.ND ORDER

         Plaintiff, Eugene Scalia, Secretary of Labor, United States Department of Labor

 ("Secretary" or "Plaintifr'), having filed his complaint and Defendant, National Association of

 Letter Carriers, AFL-CIO, Branch 19 ("Defendant" or the "Local Union"), having appeared by

 counsel and having answered, and in order to resolve this action without the necessity of further

 litigation, the Parties stipulate and agree as follows:

        1.      Plaintiff brought this action under Title IV of the Labor-Management Reporting

and Disclosure Act of 1959, 29 US.C. §§ 481-483 {the "Act"), requesting a judgment declaring

that the Local Union's December 20, 2017. elections for the offices of President and three

Trustees is void, and directing Defendant to conduct a new election for these offices under

Plaintiff's supervision, and for appropriate relief.

       2.       PlaintiffaHeged that violations of Title IV of the Act (29 U.S.C. § 481, et seq.)

had occurred and had not been remedied at the time ofthe institution of lliis acfiori. The Local

Union denies the viof ations alleged.

       3.      Plaintiff and the Local Union hereby stipulate and agree to entry of an order

directing Defendant to conduct, under the Secretary's supervision, a new election ("supervis~d
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    election") for the offices of President and three trustees on or before February I, 2020. The

    parties agree that the supervised election will include new nominations.

              4.      The supe1viscd election shall be conducted in accordance with Title IV of the Act

    (29 U.S.C. § 48 I, et seq.) and, insofar as lawful and practicable, in accordance wrn1 the Local

    Union's Constitution and Bylaws.

              5.      All decisions as to the interpretation and application of Title IV of the Act and

   the Defendant's Constitution and Bylaws relating to the supervised election are to be determined

   by the Secretary, and his decisions shall be final and binding, subject to review by this Court at

   the request of any party.

          6.        This order is in settlement of the instant litigation and is not intended and should

  not be construed as an admission by the Local Union that the Local Union or any of its officers

  or employees or agents violated Title IV of the LMRDA.

         7.         The Court shall retain jurisdiction of this action, and after completion of the

 supervised election, in accordance with 29 U.S.C. § 482(c)(2), Plaintiff shall certify to the Court

 the name of the persons so elected, and that such election was conducted in accordan.ee with

 Title IV of the Act, and insofar as lawful and practicable, in accordance with the provisions of

 the Defendant's Constitution and Bylaws.

                   Upon approval of such certification, the Court shall enter a Judgment declaring

that such persons have been elected as shown by such certification, and further, that each party

hereby agrees to-bear its uwn fees ·amlother expenses incurred by such party iri connectton with

any stage of this proceeding.




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                                      FOR THE PLAINTIFF:

                                      John H. Durham
                                      Unit States Attorney



 Dated:    /'1)- J,3- I CJ
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                                      FOR THE DEFENDANT:




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Dated:    I O/ [J 3   jj g            µ1 ,~
                                      Vincenl J. Mase
                                      President, National Association of Letter
                                      Carriers, AFL-CIO, Branch 19

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         APPROVED AND SO oRDEREriOn thi,.;(-~;' day of       00cb::t,a;;1 ~ , :u
New Haven, Connecticut.



                                            /s/ Sarah A. L. Merriam, USMJ
                                       A       /\.L MERRIAM
                                      UNIT D STA TES MAGISTRATE JUDGE
